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UNITED STATES DISTRICT COUR'I` _ U btu §'li?

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JAMAL ABU SAMAK, *
U__.iiiri§i`_»l § " :=-,’i~in"f;'
Petitioner, * Case No. Sec. A w
Crim. NO. 91-189
-vs- *
UNITED STATES OF AMERICA, *
Respondent. *

REPLY TO GOVERNMENT’S RESPONSE IN OPPOSITION

 

COMES NOW, Petitioner through undersigned counsel who respectfully enters his reply
the Government’s response in opposition to his motion previously filed under 28 USC § 2255_
Petitioner also files with this reply, an additional affidavit addressing the Government’s claims that
the one year limitations period should be strictly enforced in this case and that no mitigating
factors would permit tolling of the limitations period. ri`he Petitioner submits that as applied to his
case, the recent rulings of the Fifth Circuit would establish an exceptional circumstance permitting
the tolling of the limitations period of` the AEDPA.

The Government has claimed that the one-year limitations period of` the AEDPA is “a
mandatory, jurisdictional, and non-waivable rule.” (Goverrunent’s Motion, p. 7). The Petitioner
respectfully disagrees As the court recognized in Davis v. Johnson, 158 F.3d 806 (5‘h Cir.

1998), “the AEDPA one-year limitations period was a statute of limitations not a harte federal
jurisdiction . , .” which “could be equitably tolled, albeit only in rare and exceptional
circumstances.” _I_d_. at 807 (internal quotation omitted). Additionally, the court “must examine
each case on its facts to determine whether it presents sufficiently rare and exceptional

circumstances that may be seen as rare and exceptional.” I_d. (citations omitted). In Coleman v.

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John_son, 184 F.3d 398 (5"‘ Cir. 1999), the court stated that”equitable tolling applies principally
where the plaintiff is actively mislead by the defendant about the cause of` action or is prevented in
some extraordinary way from asserting his rights.” ld._ at 402 (citation omitted). The Petitioner
submits that procedural dismissal should not be afforded the broad-brush treatment advocated by
the Governrnent, for as the Supreme Court has noted that “dismissal of a first habeas petition is a
particularly serious matter, for that dismissal denies the petitioner the protections of` the Great
Writ entirely, risking injury to an important human liberty.” Mlm_ma§, 517 U.S. 314,
324 (1996).

The Petitioner contends that dismissal in this instance would result in a great injustice, by
eliminating the final opportunity to be heard on the merits of` his claims, at least one of` which, the
Government has recognized has “some weight." (Government’s Motion, p. 2 nl). In the
attached affidavit of Petitioner, he recounts the efforts he made to timely file his § 2255 motion.
Although the Governrnent has noted that the Petitioner did secure the return of his monies and
legal materials in February and April of 1998 (Government’s Motion, p. 6), the Petitioner submits
that the Governrnent’s efforts to dismiss would have been the same had he filed his § 2255 motion
in May of` 1998.

The Petitioner submits that exceptional circumstances occurred in his case that would
make equitable tolling an appropriate response The Petitioner has set forth, under oath, a
detailed explanation of the attempts he made to satisfy the one-year limitations period (See
Affidavit of Petitioner, with attachrnents). Being an individual for whom English is a second and
diliicult language, Petitioner sought to place his legal matters in the hands of an attorney Who
could guide him through the procedural maze that is federal post-conviction litigation Indeed,

beginning in 1994, Petitioner sought out the services of Attorney Ferrouillet and later retained him

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in 1995 by paying him a total of $9,000 establishing an attorney-client relationship for purposes of
filing his § 2255 motion. For the next three years, Petitioner, under the mistaken belief that the §
2255 motion had been liled, made no further filings with the court, under the mistaken belief that
Attorney Ferrouillet was vigorously pursuing his claim. Upon finally learning that his post-
conviction motion had not been filed, Petitioner sought the return of his li.lnds, filing a grievance
with the State Bar of Louisiana. Not until April 1998, did Petitioner secure the return of his fiJnds
from Attomey Ferrouillet, and thereupon began additional efforts to retain another attorney to file
his § 2255 motions In his affidavit, Petitioner recounts the additional efforts he undertook to
retain a another attorney to represent him. At no time, could Petitioner be accused of lack of
diligence in attempting to preserve his rights under the Great Writ.

The Petitioner submits that this Court should find that the time from April 24, 1997 until
the filing of his motion should be tolled for equitable reasons and proceed to consider the merits
of the claims raised in his § 2255 motion.

Respectlially submitted,

Aaron P. Buda

Attorney for Petitioner

Schad, Buda, Cook, LLC

6310 E. Kemper Rd., Suite 125
Cincinnati, Ohio 45241
513/489-8990 (telephone)
513/469-5793 (fa.csimile)

 

 

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CERT[FICATE OF SERVICE

I hereby certify that a true copy of the foregoing Response to the Government’s Motion in

Opposition was on this lfm day of` Gl/§l/_vv;l , 2000 placed in First Class

United States Mail with sufficient postage aflixed to ensure delivery to the office of the Assistant

United States Attorney, 501 Magazine Street, New Orleans, Louisiana 70130.

Aaron P. Buda (Ohio Bar # 061815)
Schad, Buda, Cook, LLC

Attorney for Petitioner

6310 E. Kemper Road, Suite 125
Cincinnati, Ohio 45241
513/489-8990 telephone
513/469-5790 facsimile

 

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AF'FIDAVIT OF PETITIONER

 

Comes now, Jamal Ahu Samak, the Affiant, being first duly
sworn, makes the following declaration under oath and penalty of'
perjury, believing this statement to be true to the best of his
knowledge and belief:

1. My primary language is Arabic, thus, I could communicate
in English only to a limited extent,and even then, with difficulty
and generally requires the services of an interpreter.

2. I has no knowledge of the criminal laws and rules and
procedure of the court as they apply to my case.

3. In approximately 0ctober of 1994, I spoke with attorney
Alvarez T. Perrouillet for purposes of securing represention in
preparing and filing a petition to challenging my conviction and
sentence pursuant to 28 USC R 2255.

4. On or about October 24,1994, I paid Mr. Ferrouillet as
a payment for attorney fees, a sum of one thousand dollars
($1000.00) (see attachment ).

5. Mr. Ferrouillet accepted the initial fee and Mr.
Ferrouillet came to USP Lewisburg, Pennsylvania to visit me.

6. On or about November, 1994, Mr. Ferrouillet visited with
me at USP Lewisburg, pennsylvania and orally agreed to provide
me representation in the prosecution of my habeas petition.

7. The terms Of the oral agreement included the following:

al I was to pay Mr. Ferrouillet an additional sum of

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eight thousand dollors ($8000.00).

b) Mr. Ferrouillet's agreed to provide me whatever
services were required in prosecuting my habeas petitionj
c) Mr. Ferrouillet's would keep me updated on the
status and progress of the case and would exercise all
due diligence on my behalf.
B. Ccnsequently, on or about November 1994, during Mr.
Ferrouillet's visit with me, an attorney-client relationship
was established between me and Mr. Ferrouillet's.
9. In approximately August 95, I paid Mr. Ferrouillet's'the
agreed upon sum of eight thousand dollors ($8,000.00) to

secure my representation..(see attachment ].
10. In telephone conversation soon after August 1995, Mr.

Ferrouillet informed me that the habeas petition had been
filed in federal district court. It has always been my
belief and understanding that Mr. Ferrouillet filded my
2255 and other necessary court papers. Mr. Ferrouillet has
told me on numerous occassions that he had done the above.
11. Mr. Ferrouillet has lead me to believe that he was
providing me with sincere and adequate representation. Mr.
Ferrouillet convinced me that he had made greate progress
in my case and that I would just have to wait a little

longer.

12. For a three year period, l continuously called Mr.

 

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Ferrouillet on average of at least once per week to inquire
about the status and progress of my habeas petition and to
be updated on any changes, only to be told lies.

13. In subsequent conversations, I called Mr. Ferrouillet
to inquire about the status of the petition and was informed
by Mr. Ferrouillet that he waiting for reassigment of my
case to another District Court judge that he knew that he
could be trusted to make sure I won my freedom, and that he
belief the Honorable Charles Schwartz, Jr., District Court
Judge will*never be impartial in my case, because he hate
arabs.

14. At no time throughout this three year period did Mr.
Ferrouillet ever mention that he could no longer be my
attorney or handle the case he was retained to do.

15. Mr. Ferrouillet is an attorney who Practices criminal
law and I am not aware of any other practice of which Mr.
Ferrouillet was involved. because, I have known Mr.
Ferrouillet only in the capacity of a lawyer, I trusted his
word thinking he was a ethical person. For this reason I
asked MR. Ferrouillet to represent me in my criminal case,
furthermore Mr. Ferrouillet quoted me a fee for his
representation and again assured me that he could ascertain
my freedom.

16. On some date in November or during the first week of

 

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of December, 1997, I learned that my habeas petition had
not been filed.

17. On December 21,1997, 1 filed complaint against Mr.
Ferrouillet to the State Bar of Louisiana in order to
secure the return of my money and to return copies of my
trial transcripts and related legal documents in my case,
and requesting the assistant of the Office of the
Disciplinary Counsel in conviencing the court that due to
inadequate counsel, I was unable to file my 2255 in a
timely manner, it was no fault of my own, Mr. Ferrouillet
has been sanctioned by the Bar in part, due to his neglect
of my legal matters.

18. I belief that all my phone call conversation with

Mr. Ferrouillet on tapes, pursuant to Bureau of prisons
inmate telephone regulations, this tapes will substantiate
the truthfulness of my affidavit.

19;l On or around April 27,1998, Mr. Ferrouillet return tel
me all the fees I paid him to secure my representation, but
up to this Mr. Ferrouillet never return to me all my legal
papers.

20. Immediately after I learned that Mr. Ferrouillet had
not filed my habeas petition, I spoke to follow inmate, who
was knowledgeable about criminal law to assistant, whowever
few months later this inmate handle me a petition, that
other inmates believed it's frivolous, and they advise me

to try to find lawyer to represent me in this matter.

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21. For few months after I learned that Mr. Ferrouillet
had not filed my habeas petition, I was unable to secure
the assistant of attorney to file my habeas petition, because
I not had enough fund to hire attorney.

22. Immediatly after Mr. Ferrouillet return(§§)my money

I contacted the law office of Helen Wang to represent me in
this matter.

23; On or around Aprilr 1998, Ms. Helen Wang visited me at
USP Beaumont for consultation, however, she was strongly
belief that I cann't file 2255 due to one year of the AEDPA.
24. I continue search for attorney willing to represent

me in this matter and would exercise all due diligence on
my behalf.

25. On'or around May 1998, I heard of attorney Marcia G.
Shein as expert in 2255, I placed her phone number in my
list, However, I was unable to contact her and few months
later I learned that office moved from that address.

26. On June 2,1998, I wrote attorney Marica G. shein
requesting her new phone number, However, few days later
the mail returned to me,'the letter marked with stamp
stating "RETURN TO SENDER INSUFFICIENT ADDRESS". (See
attachment ).

27. On same date in June or during the first week of July
13,1998, I worte attorney Herbert V. Larson, Jr., from

New Orleans, Louisiana to represent me in my 2255, However,

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on middle of July 1993, I received respond from Mr. Larson
stating that at the present time he unable to accept
additional work, or other cases, regardless of how
meritorious the case might be. (see attachment `).

28. On July 1998, I obtained the new address of attorney
Marcia G. Shein, and immediately I wrote her letter to

ask her to represent me in my 2255, (see attachment ).

29. On July 27,1998, I received a letter from attorney
Marcia G. Shein,,she request a minimum of $15,000.00 for
initial filing of the district court, However, I was
unable to secure such a mount of money. (see attachment B).
30. On or around July 2?,1998, I wrote the national legal
professional associates to see if they will represent me
on my 82255.

31. On or around August 10,1998, I received respond to

my letter from the national legal proffional, that*they
cann't represent me in my S2255, but they can prepare

for me and my counsel a detailed analysis of my case,
However, at that time I not have attorney.

32. On August 25,1998, inmate provide me with the phone
number of Schad, Buda, Cook, L.L.C., immediatly I`contact
them to see if they willing to take my case, they agree to
review the case.

33. nn August 28,1998, I proiveded them with all my file

to evaluate my case, and outline of legal issues and

argument fellow inmates advise to raise.

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34. On the first week of December 1998, I received letter
from my attorney Mr. Aaron P. Buda that he agreed to
represent me in my S2255 litigation. (see attachment .').

35. During 1999 and January 2000, the USP Beaumont was

under lockdown in different occassions for approximately

one month, this lockdown effect the corresponde, communcation,
between me and my attorney, and I was in able to notaries_)
the required document for my 82255 at required time by my
attorney or secure the assistance`of other inmates to review
the drafts and the letters of my attorney Mr. Buda and
prepare the proper responds and comments.

36. Immediately after I learned that Mr. Ferrouillet had not
filed my habeas petition, I done everything in my power to
file my habeas petition without any further delay, However,
for months I faced extraordinary circumstance beyond my
control, such as to find trustful and honset attorney willing
to represent me in my case, to ibtain all my legal papers
requested by my attorney to reveiw the case,vit's extrnal
forces, rather than a lack of diligence, account for the
failure to file a timely claim.

30 F!xecuted on this O.Y __§ay of March, 2000.

W»M»<§wk

Jamal Abu Samak
£21826-034

P.O.Box 26030
Beaumont, TX 77720

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NOT.ARY PUBL IC

The above named Jamal Abu Samak personally appeard before

me, the undersigned notary public in and for the state of Texas,

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and executed this document on this(§}i day of March, 2000.

   

 

 

State of Texas`

My Commission Expires#g!|!gf§l}€y:l`\

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HERBERT V. LARSON, JR.

ATTQRNE\' A‘r LAw
700 CAMP STREET
NEW ORLEANS, LOUISLLNA 70180

 

1504] 528-9500

July 13, 1998

Mr. Iamal Abu Samak
Reg. No. 21826-034
P.O. Box 26030
Beaumont, Texas 77720

Re: Post-conviction relief

Dear Mr. Samak:

I am writing in response to your letter post-marked July 9, 1998, which I received today.
Unfortunately, I must inform you that at the present time, I am unable to accept additional work, or
other cases, regardless of how meritorious the case might be.

Because I am a sole practitioner, I must limit the number of cases which I accept, if I am to
be able to devote suflicient time to each case Because of a unusual combination of circumstances,
and ciients, I now find that it would be unwise for me to take on additional work at this time --
especially a case which appears to need immediate attention, as yours does.

l do appreciate your contacting me, and wish you success in your efforts to find an attorney
who will represent you in diligent and conscientious manner

Thanking you again, I am

 

 

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JAMAL ABU SAMAK
#21826-034
P.O.BOX 26030

MRS. MARCIA G. SHEIN BEAUHONT: TX 77720

ATTORNEY AT LAW

52 EXECUTIVE PARK SOUTH

SUITE 5203

ATLANT. GEORGIA 30329

DEAR HRS. SHEIN:

THE PAST PEW HONTHS I TRY TO CONTACT YOU TO SEB IF YOU CAN REPRESENT
HE ON HY §2255; BY CALLING 404-874-9560 AND 305-756-0403, BUT EVEYTIHE
I CALL THESE NUMBERS I GOT SOHEBODY HOHE NOT OFFICE, THEN I SENT TWO
LETTERS TO YOUR OLD ADDRESS IN HIAHI, FLORIDA AND IN ATLANT, GEORGIA,
THE LETTERS RETURN BACK STATING ”FORWARDING ORDER EXPIRED', WITH ALL
THAT I NOT GIVE-UP IN MY EFFORTS TO REACH YOU, YESTARDAY I GOT YOUR
NEW ADDRESS.

I HAD LOST MY APPEAL AND MY DIRECT APPEAL, THE LAWYER I HAD HIRE FOR
THE TRIAL AND THE LAWYER OF THE APPEAL DID VERYBAD JOB, REALLY THEY
HEART HE MORE THAN THEY HELP.

1 HAD BEEN CHARGED IN 1991 FOR ARSON RESULT IN DEATH, AND EVENTHOUGH
THE JURY DID NOT RECOMHAND LIFE, THE JUDGE SENTENCE HE TO LIFE, THE
TRIAL LAWYER DIDN'T OBJECT TO THE JUDGE SENTENCE AND MY APPEAL LAWYER
NEVER RAISE ANY ISSUE REGARDING THE SENTENC.

AFTER I LOST MY APPEAL I HIRE NEW LAWYER FOR MY §2255» HE TAKE MY HONEY
AND NEVER FILE MY §2255, EYENTHOUGH EVERYTIHE I CONTACT HIH HE CLAIH
THAT HE FILE HY §2255. LATER l FOUND THAT NEYER FILE ANYTHING IN THE
COURT; LATER HE BEEN ARRESTED AND THE BAR ORDER HIH TO RETURN TO ME
MY HONEY BACK.

THE PROBLEM IS THE ONE YEAR EOR FILING §2255 HAD EXPIRED» BECAUSE OF
THIS LAWYER, BUT I HAVE ALL THE PAPERS THAT PROVE THAT WAS NOT MY

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FOE£-
I WONDERING IF YOU CAN REPRESENT HE ON HY §2255, AND IF SO, WHBTHER
THE COURT WILL ACCEPT HY HOTION AFTER THE ONE YEAR HAD ALREADY EXPIRED'

HY TRIAL WHICH FULL WITH REVERSAL ERRORS, LAST THREE DAYS, ALL MY CO-
DEFENDANTS PLEA-GUILTY, AND RECEIVED SBORT SENTENCE, ONE OF THEM ALREADY
HOME, TH§ OTHER TWO WILL BE RELEASED SOON.

I'AM THE ONLY ONE WENT TO TRIAL, MY LAWYER NEVER ADVISE ME TO PLEA-
GUILTY AND NEVER COHMUNICATE TO HE ANY PLEA-BARGAIN. AND WHEN I ASK

HIM FEW WEEKS AGO IF THE GOVERNMENT EVER OFFER HIM ANY PLEA*BARGAIN,
SINCE l BELIEVE THERE ARE NO REASON FOR THE GOVERNHENT TO OFFER ALL HY
CO-DEFENDANTS PLEA AND NOT TO OFFER HE ONE, HE RESPOND THAT THEY NEVER
OFFER HIM ANY DEAL, I RBALLY DON'T KNOW IF HE SAYING THE TRUTH OR NO,
AND I HAD NO IDEA HOW CAN l FIND IF THEY OFFER ANY DEAL, I FILE
FREEDOM OF INFORHATION REQUEST IN HOFE TO FIND THE TRUTH, BUT THE TIHE
IS RUNNING AND I DON'T KNOW WHAT TO DO? THE BOTTOM bINE, IF THE GOVER-
MENT HAD OFFER ANY DEAL, SURLLY l WILL ACCEPTED, AND l WILL NEVER WENT
TO TRIAL.

AS YOU SEE I HAVE A STRONG CASE FOR INEFPECTIVE ASSISTANCE OF ATTORNEY,
AND OTHER ISSUES, SO, PLEASE, INFORH HE IF YOU CAN REPRESENT HE IN THIS
CASE, AND HOW MUCH YOU WILL CHARGE FOR §2255, I AM NOT RICH MAN, BUT I
THINK WE CAN WORK SOMETHING OUT.

FINALLY, I WONDERING IF YOU CAN PROVIDE ME WITH A LIST OF THE CASES YOU,
WIN AND THE NEWS-LETTER YOU PUBLISBED, ALSO, I WOULD LIKE TO KNOW THE
BEST TIME THAT l CAN CALL YOU TO DISCUSS MY CASE, YOU KNOW IT IS NOT
EASY TO HAVE LEGAL AT USP BEAUHONT, AND IT TAKE FEW DA!S TO PUT YOUR
PHONE-NUHBER IN HY PHONE LIST, AND THAT THE REASON WHY 1 WRITY RIGBT
AWAY IN HOPE YOU RESPOND TO HE AS SOON AS POSSIBLE.

THANK YOU FOR YOUR HELP.

RESPECTFULLY YOURS:

JULY 2,1998- JAMAL ABU SAMAK

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SHEIN & BtGGS
Attomqys At Law

Federal Criminal Law Center, Inc.
Marcia G. Sheil'l, M.S.' Plr:a, Sentencing, Appellate & Post-Convictian

 

Lynn winters

Hichard D. Biggs Cvnsultativn and Repr¢senmrion office mministraior

A"°""°Y$ M UW Tamela Cromartle

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me me C ns ]uly 20, 1998 suite 5203

U.S. Supreme Court Practice Atlanta. Georgia 30329

Te|ephone: t4tl4) 633~3?9?

'Georgia Court of Appea|s & Fax: (404} 633-7980

Georgia Supreme Court smart ian@nindsp¢ing.com

]amai Abu Samak

ch. No. 21826-034
P.O. Box 26030
Beaumont, TX 77720

Dear ]amal:

Thank you for contacting our organization I have enclosed some information
concerning our services and legal information that may be helpful to you for your review

I apologize that you have had difficulty in finding us but we moved from that
address three (3) years ago.

In regards to your situation, there certainly would be an issue on an ineffective
assistance of counsel claim for having failed to meet a deadline requirement The key is
going to be determined on the basis of whether your issues have the substantial merit
necessary to prove that you Werc prejudiced The litigation Will have collateral
consequences for determining AEDPA application in cases thre an attorney failed to
file a 2255 and it Was not for lack of merit on the issues This Will be a secondary issue

In regards to your substantive issues, I ann sure they will have the appropriate legal
standing to be filed in good faith. However, l must tell you that the fees for litigating
this are going to be expensive You are looking at a minimum of 315 ,OO() to begin Which
includes a trip to visit with you personally lf you do not wish for us to visit With you,
the fee can be reduced to $12,500 for the initial filing of the district court pleadings
Howcver, We Will need in escrow an additional $3,500 to be used for an evidentiary
hearing should one be granted If the evidentiary hearing is not granted, this $3,500 is
applied to the preparation of the Certilicate of Appealability. The Certifica.te of
Appealability is filed if the district court denies the relief If an evidentiary hearing is
granted, and still the 2255 is dcnied, an additional 33,500 is due before we file the
Nationai Federal Pracllce Providlng Speclal Ass|stance, Consu|tation And Hepresentatlon ln Complex Crlmlnal Cases ln:

Pretrla| and Trla| Strateg|es 0 Plea Negollatlans § Delense Senlencing Memorandums

Oblectlons to Goverriment PS| 0 Guldellne M|tlgatlon § Appeals . 2241, 2254 & 2255 Habeas Petitions
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Certificate of Appealability_ We. will only file a Notice of Appeal against the denial of
the 2255 pro se on your behalf until that $3,500 for the Certificate of Appealability is
given. We regret having to charge these fees but as a result of the AEDPA, there are a
number of additional steps necessary for successful litigation on 22555.

If the Certificate of Appealability is granted, and your appeal is given, there is an
additional $2,5()0 due for the completion of the appeal. if oral argument is granted,
there are fees for representation at the appellate court. lf the case is successful on appeal,
and remanded to the district court, any additional representation would require
additional fees for that purpose l know this sound ominous, but it is unfortunately a
part of the process of litigating these cases in their entirety.

In preparing a 2255 , the following steps are required:

l. The preparation and filing of the 2255 document;
2. The receipt of the government‘s response;

3. Replying to the government‘s response;

4. An evidentiary healing, or receipt of the Magistrate‘s Findings to the
district court judge;

5. The filing of a reply to the Magistrate's Findings;

6. If the district court judge makes favorable findings, then the matter will be
returned to the district court for further proceedings lf the court makes
a favorable finding, the remaining steps Would not apply. However, if the
court denies relief, you Would have the right to appeal that denial, and the
following steps would be applicable

7. Should the case be denied at the district court level, a Certificate of
Appealability is required. This is now a step requirement and must be
almost a complete appellate brief in order to get the attention of the court
for the purposes of granting a Certificate of Appealability. However, if the
Certificate of Appealability is granted, there still is an appellate process
requirement

SHEIN & BIGGS , Artomqps At La:w
52 EXBCUiive Parlt Sol.|ih . Suite 5203 § Atlanta, Georgia 30329 § (404} 533-3797 . FaX: (404) 633-7980

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8. To prepare and file the actual appeal, there would be an additional $2,500,
plus $2,500 for expenses and time if the appellate court grants oral
argument

These fees do not include any costs for transcripts that are needed in preparing
the above-referenced documents

I think you have a case but I do believe that to litigate it would require the above-
referenced steps and fees. Should you wish to pursue the matter further, please contact

me accordingly

Sincerely,

Marcia G. Shein, Esq.
Attomqy at Law

MGS/lw

Enclosures: Package

SHEIN 82 BIGGS, Amr.-Wsai raw
52 Executive Park South § Su|te 5203 § Atianta, Georgia 30329 § (404)633-3797 0 Fax: (404)633-?980

 

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SCHAD

 

Attomeys at Law

December l, l998

Jamal Abu Samak
Reg. # 21826-034
P.O. ch 26030
Beaumont, TX 77720

Dear Mr. Samak,

I am writing to follow up on our conversation yesterday in which we discussed my firms
representation of you in your § 2255 litigation As we discussed, l believe that you have several
very good issues which are deserving of consideration by the court in a §2255 motion As we also
discussed, I believe several procedural issues will need to be addressed in your § 2255 to insure
that the court will consider the issues raised in your motion l do believe that based upon your
prior attorney’s inaction in following through with the §2255 motion in a timely manner, we
would be able to argue to the court that equitable reasons would permit you to file a motion in
what is now beyond the one year time limit under the 1996 Anti-Terrorism and Effective Death
Penalty Act.

Pursuant to our agreement I am forwarding to you a retainer agreement which I would
ask that you sign and return to my office Upon receiving your signed copy, l will also sign and
return a completed retainer agreement for your records I would ask that before signing, that you
carefully review the retainer agreement for the terms of our representation so that you have an
understanding of the scope of our representation

I look forward to representing you in your § 2255 litigation Please contact us with any

questions concerning the issues of your case or retainer agreement

Yours Sincerely,

' 1
Aaron P. Buda '
APB:cdc

Enclosure

SCHAD. BUDA. & COOK. LLC

 

63l0 East Kemper Road w Suite l25 rt Cincinnali, Ohio 4524|
Tel. 513-439»8990 Fax. 513-469'5793

